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May 7, 2012

VIA ELECTRONIC FILING

Hon. David E. Peebles
U.S. Magistrate Judge
United States District Court Northern District of New York
Federal Building and U.S. Courthouse
100 South Clinton Street
P.O. Box 7345
Syracuse, NY 13261-7345

Re:   Defenshield Inc. v. First Choice Armor & Equipment, Inc. et al., No. 5:10-cv-
      01140-GTS -DEP

Dear Judge Peebles:

We represent the plaintiff in the above-referenced case.

The parties jointly request a two-week adjournment of the Rule 16 conference currently
scheduled before Your Honor on May 10, 2012 in light of ongoing settlement
discussions. This is the first request for an adjournment from either party.

Counsel for the defendants has consented to and joins in this request.

Respectfully submitted,

BOND, SCHOENECK & KING, PLLC

s/David L. Nocilly

David L. Nocilly, 510759

CC: ALL COUNSEL OF RECORD VIA ECF




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